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 6   Attorney for Plaintiff
     FIND THE ORIGIN, INC.
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
10
                                      SAN FRANCISCO DIVISION
11

12
      FIND THE ORIGIN, INC., a Delaware                 Case No.:
13    Corporation,
                                                        COMPLAINT FOR TRADEMARK
14
                                     Plaintiff,         INFRINGEMENT AND RELATED
15                                                      CLAIMS
                             v.
16                                                      JURY TRIAL DEMANDED
      ORIGIN B.V., a Kingdom of the
17
      Netherlands Corporation, and DOES 1
18    through 10,

19                                    Defendants.
20

21
            Plaintiff Find the Origin, Inc. (“Plaintiff” or “Origin”) brings this action to obtain relief for
22

23   trademark infringement and unfair competition by Defendant Origin B.V. (“Defendant” or

24   “OBV”) arising out of Defendant’s use in commerce of the trademark and service mark ORIGIN.
25
     Defendant caused injury to Plaintiff, including by spending substantial amounts to promote and
26
     advertise its infringing and confusing use of ORIGIN, which aggressive campaign Plaintiff would
27
     have to counteract with at least an equal amount of corrective advertising. Defendant went so far,
28
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 1   upon information and belief, as to purchase the Google keyword “explore origin,” which replicates
 2
     and diverts from Plaintiff’s website located at exploreorigin.com. Plaintiff seeks injunctive relief
 3
     and damages under the laws of the United States and the State of California. For its complaint
 4
     (“Complaint) against Defendant, Plaintiff hereby alleges as follows:
 5

 6                                         NATURE OF THE ACTION

 7              1.       This is an action at law and in equity for willful trademark infringement, false
 8
     designation of origin, and unfair competition in violation of the Lanham Act, 15 U.S.C. § 1051 et.
 9
     seq.; federal and California common law, and California Business and Professions Code § 17200
10
     et. seq.
11

12                                                   PARTIES

13              2.       Plaintiff Find the Origin, Inc. is a Delaware corporation doing business as Origin
14
     (“Plaintiff” or “Origin”), and has its principal place of business in Boulder, Colorado. Plaintiff
15
     transacts substantial business throughout the United States and in this District.
16
                3.       Upon information and belief, Defendant OBV is a corporation formed in the
17

18   Kingdom of the Netherlands and maintains its principal place of business in Palo Alto, California.

19   Upon information and belief, Defendant transacts substantial business throughout the United
20
     States and in this District.
21
                4.       Plaintiff does not know the true names of defendants Does 1 through 10, inclusive,
22
     and therefore sues those defendants by such fictitious names. Plaintiff is informed and believe, and
23

24   on that basis allege, that Defendants Does 1 through 10, inclusive, are responsible for the acts

25   complained of herein. When the true names of such fictitious defendants are ascertained, Plaintiff
26
     will seek to leave of this Court to amend this Complaint to name those individuals or entities.
27

28

                                             2
                COMPLAINT FOR TRADEMARK INFRINGEMENT AND RELATED CLAIMS
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 1           5.       Plaintiff is informed and believes, and on that basis alleges, that each of the
 2
     defendants, including the Doe defendants, were the agent and employees of the remaining
 3
     defendants and, at all times mentioned, acted within the course and scope of such agency and
 4
     employment.
 5

 6                                     JURISDICTION AND VENUE

 7           6.       This Court has jurisdiction over the subject matter of this action under the Lanham
 8
     Act of 1946, 15 U.S.C. § 11121 and 28 U.S.C. §§ 1331 and 1338. This Court has supplemental
 9
     jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367, which arise out of the same
10
     nucleus of operative facts as the federal law claims to which they are joined.
11

12           7.       Defendants are subject to this Court’s personal jurisdiction because they reside in

13   California and/or because they conduct business and maintain an office in this District.
14
             8.       Venue is proper in this District under 28 U.S.C. § 1391, among other things,
15
     because the acts alleged in this Complaint occurred and continue to occur in this District, a
16
     substantial part of the events giving rise to this action occurred in this District, and the injury was
17

18   caused and experienced in this District. Upon information and belief, Defendants reside and/or

19   transact business in this District.
20
                           INTRADISTRICT ASSIGNMENT (CIV. L. R. 3.2(c))
21
             9.       Pursuant to CIV. L. R. 3.2(c), this action is assigned on a districtwide basis because
22
     it is an action concerning intellectual property.
23

24                                         FACTUAL BACKGROUND

25                                     Plaintiff and Its ORIGIN Mark
26
             10.      In accordance with its founding vision, Origin invested substantial time and
27
     resources to develop a new and unique online e-commerce travel planning and reservation platform
28

                                         3
            COMPLAINT FOR TRADEMARK INFRINGEMENT AND RELATED CLAIMS
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 1   for travelers to reserve a wide range of experiences and activities, including but not limited to
 2
     guided tours, adventure tours, multi-day tours, walking tours, food tours, bike tours, rock climbing
 3
     trips, skiing trips, camping trips, and other similar activities. Origin interacts with both service
 4
     providers and travelers in handling reservations, payments, required documentation such as
 5

 6   waivers, as well as coupons and promotions.

 7          11.     To serve as the public-facing source identifier for its new platform, Origin selected
 8
     the trademark and service mark ORIGIN.
 9

10          12.     The platform was launched to the public in the fall of 2019 using the domain name
11   exploreorigin.com, and since then it has been continuously operating in U.S. commerce. A
12
     screenshot of Origin’s website is shown below:
13

14

15

16

17

18

19

20

21
            13.     Origin is a bootstrapped startup company that now processes millions of dollars a
22
     year in travel and touring revenues from thousands of unique travelers booking their travels
23

24   through the Origin platform itself or through the installed booking integration Origin provides to

25   tour operators. With minimal outside funding and a team of only 5 full-time employees, Origin
26   has built a world-class product helping both travelers and tour operators in all front-end and back-
27
     end aspects of travel and touring. In 2022 Origin achieved over 500% growth compared to the
28

                                         4
            COMPLAINT FOR TRADEMARK INFRINGEMENT AND RELATED CLAIMS
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 1   previous year and is on track for similar growth in 2023. Origin was recently selected as one of
 2
     seven startup companies to participate in the most recent LAUNCH Accelerator program.
 3
            14.     To protect its rights in ORIGIN, and to provide notice to others of its rights in
 4
     ORIGIN, on June 20, 2019, Origin applied to register the mark ORIGIN with the U.S. Patent and
 5

 6   Trademark Office (“USPTO”).

 7          15.     On May 31, 2020, the USPTO issued to Origin U.S. Trademark Registration No.
 8
     6025638 for the mark ORIGIN (the “‘638 Registration”), registered in Class 42 for the following
 9
     goods and services:
10
            Providing temporary use of online non-downloadable software for creating
11
            searchable databases of information and data for use in searching for and reserving
12          services in the nature of outdoor activities; providing on-line non-downloadable
            computer applications and software for computer networks, websites, desktops
13          and mobile devices, namely, software for scheduling, arranging, and coordinating
            meetings, private gatherings and outdoor activities; Providing temporary use of
14
            online non-downloadable software for scheduling, arranging, and coordinating
15          meetings, private gatherings and outdoor activities; providing online non-
            downloadable computer applications and software for computer networks,
16          websites, desktops and mobile devices, namely, software for creating searchable
            databases of information and data for use in searching for and reserving services
17
            in the nature of outdoor activities.
18
            16.     The ‘638 Registration is valid and subsisting and establishes the presumption that
19
     ORIGIN is a distinctive and protectable trademark owned by Origin. A true and correct copy of
20

21   the registration certificate for the ‘638 Registration is attached as Exhibit A.

22          17.     Origin has continued to market, promote, license, and sell its services under the
23
     ORIGIN mark, and as a result, Plaintiff has attained and now owns valuable goodwill which is
24
     symbolized by its ORIGIN mark.
25
            18.     In addition to the common law rights granted to Origin by virtue of its longstanding
26

27   use in U.S. commerce of the ORIGIN mark, Origin’s federal trademark registrations entitles Origin

28

                                         5
            COMPLAINT FOR TRADEMARK INFRINGEMENT AND RELATED CLAIMS
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 1   to make exclusive use of the ORIGIN mark in connection with the goods and services recited in
 2
     the ‘638 Registration.
 3
            19.     Origin has taken care and continues to take care to build and foster the goodwill of
 4
     its ORIGIN mark by, among other things, maintaining the quality of its goods and services;
 5

 6   expending significant efforts and capital to promote and build consumer and brand awareness

 7   through advertising, promotions, and industry partnerships; registering its mark with the USPTO;
 8
     and actively policing its trademark rights in order to prevent unauthorized uses and consumer
 9
     confusion.
10
            20.     In addition to providing constructive notice through its federal registrations, Origin
11

12   affixes trademark notices and trademark registration notices where appropriate to provide actual

13   notice to others of Origin’s rights in the ORIGIN mark.
14
                           Defendant’s Unauthorized and Infringing Activities
15
            21.     Upon information and belief, after Origin already launched its ORIGIN-brand
16
     platform to the public and registered its ORIGIN mark with the USPTO, Defendant OBV started
17

18   offering in U.S. commerce, and is still offering, in the United States and in this judicial district an

19   online travel planning and travel reservation platform under the identical mark ORIGIN.
20
            22.     OBV’s ORIGIN platform is used to enable travelers to plan and reserve their travel
21
     experiences online. On Crunchbase, OBV describe its product as software: “Origin is application
22
     software that provides personalized trip planning services.”
23

24          23.     Upon information and belief, Defendant raised $5 million in funding in January

25   2022 led by prominent venture capital firms that fund technology companies. Upon information
26
     and belief, Defendant spent a substantial portion of this budget to launch an aggressive advertising
27

28

                                         6
            COMPLAINT FOR TRADEMARK INFRINGEMENT AND RELATED CLAIMS
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 1   campaign to associate ORIGIN with OBV’s services, thereby causing confusion to customers and
 2
     damaging the legitimate association between ORIGIN and Plaintiff and its goods and services.
 3
            24.    Upon information and belief, OBV operates the websites origin.me. A screenshot
 4
     of OBV’s website is shown below:
 5

 6

 7

 8

 9

10

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25
            25.    OBV describes its services on its website as follows: “We create custom-made
26
     adventures designed with unlimited personalization, using machine-learning and the expert
27

28

                                        7
           COMPLAINT FOR TRADEMARK INFRINGEMENT AND RELATED CLAIMS
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 1   knowledge of world-renowned curators,” and “Origin curators are travel experts with over 100
 2
     years of collective experience in the craft of travel itinerary creation.”
 3
            26.      Like Origin’s ORIGIN-brand platform, OBV’s infringing ORIGIN-brand platform
 4
     help travelers realize their desired travel and touring experiences and, through OBV’s Flex
 5

 6   program, help travel professionals handle the transactional, logistical, and financial aspects of the

 7   travel and touring business. The ORIGIN mark used by OBV is identical and confusingly similar
 8
     to Plaintiff’s ORIGIN mark, and it is used in connection with identical or nearly identical goods
 9
     and services.
10
            27.      Upon information and belief, Defendant purchased the Google keyword “explore
11

12   origin.”

13          28.      Upon information and belief, Defendant purchased the Google keyword “explore
14
     origin” in order to attract customers who type the search terms “explore origin” into Google’s
15
     search bar.
16
            29.      Upon information and belief, Defendant purchased the Google keyword “explore
17

18   origin” in order to attract potential customers who search for Plaintiff’s website exploreorigin.com.

19          30.      In view of these similarities and other relevant factors, the use of the ORIGIN trade
20
     name and mark by OBV is likely to cause confusion or mistake among consumers and is likely to
21
     cause consumers to have the mistaken impression or belief the parties’ respective goods and
22
     services are affiliated with, associated with, connected to, or sponsored by one another. Consumers
23

24   and Origin have been harmed and will continue to be harmed by such confusion, and OBV will

25   unjustly benefit from such association, including because it will enable to it to benefit from
26
     Origin’s hard-earned goodwill.
27

28

                                         8
            COMPLAINT FOR TRADEMARK INFRINGEMENT AND RELATED CLAIMS
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 1          31.     Seeking to avoid further consumer confusion and infringement of its ORIGIN
 2
     mark, on October 20, 2022, Origin sent OBV a letter advising OBV of Origin’s trademark
 3
     registration and rights in the ORIGIN mark and trade name. Plaintiff requested that Defendant
 4
     cease use of the confusingly similar ORIGIN mark in connection with its travel tech business.
 5

 6   After some discussions, the parties were unable to reach an amicable resolution and Origin now

 7   brings this action in order to obtain relief for the harm it suffered and will continue to endure as a
 8
     result of OBV’s unauthorized use of ORIGIN.
 9
            32.     OBV’s unlawful use of the ORIGIN mark has irreparably harmed Origin, and
10
     OBV’s continued expansion of that unlawful use will increase such irreparable harm.
11

12          33.     Upon information and belief, OBV plans to expand its promotion and uses of the

13   ORIGIN mark in a manner that will, over time, cause an increased likelihood of confusion with
14
     respect to the parties’ respective ORIGIN marks.
15
                                       FIRST CAUSE OF ACTION
16
                       (Federal Trademark Infringement under 15 U.S.C § 1114)
17

18          34.     Plaintiff restates and realleges the allegations of Paragraph 1 through 31 inclusive,

19   and the acts of Defendant asserted therein as set forth in full as part of this Cause of Action.
20
            35.     After Plaintiff’s adoption, use and registration of the ORIGIN mark, Defendant has
21
     adopted and used, and continues to use in United States commerce the mark ORIGIN in connection
22
     with goods and services that are identical or nearly identical with those of Plaintiff.
23

24          36.     Defendant has used the ORIGIN mark to offer goods and services that fall within

25   the scope of the goods and services recited in Origin’s ‘638 Registration.
26
            37.     Defendant’s use of an identical mark in a manner that creates a similar commercial
27
     impression, and in connection with goods and services that are identical to, competitive with,
28

                                         9
            COMPLAINT FOR TRADEMARK INFRINGEMENT AND RELATED CLAIMS
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 1   similar to, related to, and/or within the zone of natural expansion of those offered by Origin in
 2
     connection with its ORIGIN mark, has created a likelihood of public confusion, and in particular,
 3
     tends to and does falsely create the false or mistaken impression that the parties’ respective goods
 4
     and services are affiliated with, approved by, or sponsored by one another, all in violation of the
 5

 6   Lanham Act, 15 U.S.C. § 1114.

 7          38.     The types of confusion made likely as a result of Defendant’s unauthorized use of
 8
     ORIGIN in the manner complained of herein include without limitation forward confusion, reverse
 9
     confusion, and initial interest confusion.
10
            39.     The designation ORIGIN, as used by Defendant, so resembles Origin’s ORIGIN
11

12   mark, as to be likely, when applied to Defendant’s goods and services, to cause confusion, or to

13   cause mistake, and/or to deceive.
14
            40.     Upon information and belief, Defendant’s acts of infringement have been and
15
     continue to be willful and intentional.
16
            41.     Upon information and belief, Defendant’s use of ORIGIN in U.S. commerce was
17

18   made with actual and/or constructive knowledge of Origin’s common law and/or registered rights

19   in the ORIGIN mark.
20
            42.     Defendant’s unlawful acts have caused Origin irreparable injury. By reason of all
21
     the foregoing circumstances as described herein, Origin has been, and now is, and, unless the relief
22
     requested herein is granted, will hereafter be hindered or unlawfully interfered with by Defendant’s
23

24   use of the trademark ORIGIN in connection with goods and services which are identical, similar,

25   or related to Origin’s goods and services.
26
            43.     Plaintiff is informed and believes that unless Defendant’s conduct described herein
27
     is enjoined by this Court, Defendant will continue and expand those activities to the continued and
28

                                        10
            COMPLAINT FOR TRADEMARK INFRINGEMENT AND RELATED CLAIMS
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 1   irreparable injury of Plaintiff. This injury includes a reduction in the distinctiveness of Plaintiff’s
 2
     ORIGIN mark, diversion of Plaintiff’s customers and trade, interference with Plaintiff’s reasonable
 3
     zone of expansion, causing others to believe that the ORIGIN mark may be appropriated for their
 4
     use, and injury to Plaintiff’s reputation that cannot be remedied through damages, and Plaintiff has
 5

 6   no adequate remedy at law.

 7           44.     Plaintiff is entitled to an injunction restraining and enjoining Defendant and any of
 8
     its agents, servants, employees, and all persons acting thereunder, in concert with, or on its behalf,
 9
     from using in commerce the ORIGIN trademark and any colorable imitation thereof.
10
             45.     Plaintiff is entitled to recover (i) Defendant’s profits, (ii) Plaintiff’s ascertainable
11

12   damages, and (iii) Plaintiff’s costs of suit.

13           46.     Defendant’s willful use of the identical ORIGIN mark without excuse or
14
     justification also entitles Plaintiff to recover its reasonable attorney’s fees.
15
                                       SECOND CAUSE OF ACTION
16
           (False Designation or Origin and Unfair Competition under 15 U.S.C. § 1125(a))
17

18           47.     Plaintiff restates and realleges the allegations of Paragraphs 1 through [], inclusive,

19   and the acts of Defendant asserted therein as if set forth in full as part of this Cause of Action.
20
             48.     Upon information and belief, Defendant has, through its adoption and continued
21
     willful use of the trademark and trade designation ORIGIN in connection with goods and services
22
     that are identical to, competitive with, similar to, related to, or within the zone of natural expansion
23

24   of those offered by Plaintiff in connection with its ORIGIN mark, knowingly caused goods and/or

25   services to enter into U.S. commerce with a false designation of origin, false and/or misleading
26
     description or representation of goods and/or services in commerce, with knowledge of the falsity,
27
     which is likely to cause confusion, mistake and/or deception, and in commercial advertising and
28

                                        11
            COMPLAINT FOR TRADEMARK INFRINGEMENT AND RELATED CLAIMS
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 1   promotion, misrepresents the nature, characteristics, qualities and origin of Defendant’s goods and
 2
     services, and related commercial activities, in violation of 15 U.S.C. §1125(a).
 3
             49.     The types of confusion made likely as a result of Defendant’s unauthorized use of
 4
     ORIGIN in the manner complained of herein include without limitation forward confusion, reverse
 5

 6   confusion, and initial interest confusion.

 7           50.     This false designation of origin has caused and continues to cause irreparable
 8
     damage to Origin, and it deceives the public.
 9
             51.     The irreparable injury to Origin will, unless restrained, further impair, if not
10
     destroy, Origin’s ORIGIN mark and goodwill, and Origin has no adequate remedy at law.
11

12           52.     Origin is entitled to an injunction restraining and enjoining Defendant and any of

13   its agents, servants, employees, and all persons acting thereunder, in concert with, or on its behalf,
14
     from using in commerce the ORIGIN trademark and any colorable imitation thereof.
15
             53.     Origin is entitled to recover (i) Defendant’s profits, (ii) Origin’s ascertainable
16
     damages, and (iii) Origin’s costs of suit.
17

18           54.     Defendant’s willful use of the identical ORIGIN mark without excuse or

19   justification also entitles Plaintiff to recover its reasonable attorney’s fees.
20
                                        THIRD CAUSE OF ACTION
21
                   (Common Law Trademark Infringement and Unfair Competition)
22
             55.     Plaintiff restates and realleges the allegations of Paragraphs 1 through 52, inclusive,
23

24   and the acts of Defendant asserted therein as if set forth in full as part of this Cause of Action.

25           56.     As more fully alleged above, Defendant’s use of the ORIGIN mark in the State of
26
     California in connection with goods and services that are identical to, competitive with, related to,
27
     similar to, or within the zone of natural expansion of those offered by Plaintiff in connection with
28

                                        12
            COMPLAINT FOR TRADEMARK INFRINGEMENT AND RELATED CLAIMS
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 1   its ORIGIN mark, constitutes unfair methods of competition, willful and intentional acts and
 2
     practices, and unfair and deceptive acts and practices wherein Defendant’s conduct is likely to
 3
     cause confusion as to the source of Defendant’s goods and services.
 4
             57.     Defendant’s actions with actual or constructive knowledge of Plaintiff’s trademarks
 5

 6   in the State of California demonstrate an intent to trade on the goodwill associated with the

 7   ORIGIN mark with the intention of deceiving and misleading the consumers of its goods and
 8
     services and the public to the great and irreparable injury of Plaintiff.
 9
             58.     Defendant’s unlawful acts in the State of California constitute common-law
10
     trademark infringement and have created and will continue to create a likelihood of confusion to
11

12   the irreparable injury of Plaintiff unless enjoined by this Court.

13           59.     As a result of Defendant’s acts, Plaintiff has been damaged and will, unless
14
     restrained, further impair, if not destroy, Plaintiff’s trademarks and goodwill, and Plaintiff has no
15
     adequate remedy at law.
16
             60.     Origin is entitled to recover (i) Defendant’s profits, (ii) Origin’s ascertainable
17

18   damages, and (iii) Origin’s costs of suit.

19           61.     Defendant’s willful use of the identical ORIGIN mark without excuse or
20
     justification also entitles Plaintiff to recover its reasonable attorney’s fees.
21
             62.     In doing the things described here, Defendant has acted with malice and oppression
22
     as defined in California Civil Code section 3294(c), and willfully and with the intent to cause
23

24   injury to Plaintiff. Defendant is therefore guilty of malice and oppression in conscious disregard

25   of the rights of Plaintiff, thereby warranting an assessment of punitive damages in an amount
26
     appropriate to punish Defendants and deter others from engaging in similar conduct.
27

28

                                        13
            COMPLAINT FOR TRADEMARK INFRINGEMENT AND RELATED CLAIMS
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 1                                    FOURTH CAUSE OF ACTION
 2
                       (California Business and Professions Code § 17200 et. seq.)
 3
            63.     Plaintiff restates and realleges the allegations of Paragraphs 1 through 60, inclusive,
 4
     and the acts of Defendant asserted therein as if set forth in full as part of this Cause of Action.
 5

 6          64.     Defendant’s actions with actual or constructive knowledge of Plaintiff’s trademarks

 7   in the State of California demonstrate an intent to trade and do trade on the goodwill associated
 8
     with the ORIGIN mark with the intention of deceiving and misleading the consumers of its goods
 9
     and services and the public to the great and irreparable injury of Plaintiff.
10
            65.     Defendant’s acts, as alleged above, constitute unlawful and/or unfair business
11

12   practices in violation of the California Business and Professions Code § 17200 et. seq. (“UCL”).

13          66.     As a result of Defendant’s acts, Plaintiff has been damaged in an amount not
14
     ascertainable, and these acts will, unless restrained, further impair, if not destroy, Plaintiff’s
15
     trademarks and goodwill, and Plaintiff has no adequate remedy at law.
16
            67.     As a direct and proximate result of Defendant’s unfair competition, Defendant has
17

18   been unjustly enriched in an amount to be determined at trial.

19                                        PRAYER FOR RELIEF
20
     WHEREFORE, Plaintiff respectfully requests that the following relief from the Court:
21
            1.      Entry of judgment in favor of Plaintiff’s registered ORIGIN mark has been
22
     infringed by the Defendant in violation of Plaintiff’s rights under the Lanham Act and in common
23

24   law;

25          2.      Entry of judgment in favor of Plaintiff that Defendant has made false designations
26
     and competed unfairly with Plaintiff in violation of Plaintiff’s rights under the Lanham Act,
27
     common law, and California statutory law;
28

                                        14
            COMPLAINT FOR TRADEMARK INFRINGEMENT AND RELATED CLAIMS
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 1          3.      That Defendant, its principals, partners, franchisees, agents, employees, licensees,
 2
     affiliates, importers, distributors, producers, any parent or subsidiary companies, attorneys and
 3
     representatives and all of those in privity with or acting under its direction and/or pursuant to its
 4
     control, be preliminarily and permanently enjoined and restrained, from directly or indirectly:
 5

 6               a. Using the ORIGIN mark or any other marks which are confusingly similar to the

 7                  ORIGIN mark;
 8
                 b. Producing, selling, offering for sale, distributing, or promoting any goods or
 9
                    services that display any words or symbols that so resemble the ORIGIN mark as
10
                    to be likely to cause confusion, mistake, or deception, on or in connection with any
11

12                  product or service not authorized by Plaintiff, including the goods and services

13                  which are the subject of this Complaint;
14
                 c. Falsely representing an association or connection with Plaintiff, the ORIGIN mark
15
                    and/or Plaintiff’s goods and services;
16
                 d. Using any logo, trade name, trademark, or service mark, which may be calculated
17

18                  to falsely represent, or which has the effect of falsely representing, that goods

19                  and/or services of Defendant are sponsored by, authorized by or in any way
20
                    associated with Plaintiff;
21
                 e. Otherwise unfairly competing with Plaintiff, or infringing Plaintiff’s rights in and
22
                    to the ORIGIN mark; and
23

24               f. Submitting to the U.S. Patent and Trademark office any trademark application for

25                  any mark which consists in whole or in part of the character string O-R-I-G-I-N in
26
                    connection with Defendant’s goods and services and any other goods and services
27

28

                                        15
            COMPLAINT FOR TRADEMARK INFRINGEMENT AND RELATED CLAIMS
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 1                    which, when used in connection with the ORIGIN mark, create a likelihood of
 2
                      confusion with the respect to Plaintiff’s ORIGIN mark and registration.
 3
             4.       An order requiring Defendant to remove the ORIGIN mark from use any websites,
 4
     physical or electronic advertisements, collateral, or promotional materials bearing, and to perform
 5

 6   corrective advertising to dissipate and remove any confusion;

 7           5.       An order requiring Defendant to file with this Court and serve on Plaintiff, within a set

 8   period of time not to exceed thirty (30) days from the date of the injunction, a report in writing under
 9
     oath, setting forth in detail the manner and form in which Defendant has complied with the injunction;
10
             6.       An order requiring Defendant to pay to Origin such damages as Origin has sustained
11
     as a consequence of Defendant’s infringement of Origin’s registered and common law ORIGIN mark,
12
     false advertising, and unfair competition and to account to Origin for all gains, profits and advantages
13

14   derived by Defendant by virtue of its infringement, and/or that Plaintiff be awarded Defendant’s profits

15   pursuant to 15 U.S.C. § 1117, and state common and statutory law, plus prejudgment interest;
16           7.       An order increasing the monetary award to Plaintiff based on willful infringement by
17
     Defendant pursuant to 15 U.S.C. § 1117;
18
             8.       An order awarding to Plaintiff punitive damages in an amount sufficient to punish
19
     Defendant and deter future similar injurious activities;
20

21           9.       That the Court find this case to be exceptional and award reasonable attorneys’ fees to

22   Plaintiff;
23           10.      Adjudge that Plaintiff has and recover its costs in this suit;
24
             11.      An order requiring Defendants to produce an accounting of and impose a constructive
25
     trust on all of Defendant’s funds, profits, and assets that arise out of the activities complained of herein;
26
     and
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 1               12.    An order requiring Defendant, its principals, partners, franchisees, agents,
 2
     employees, licensees, affiliates, importers, distributors, producers, any parent and subsidiary
 3
     companies, attorneys and representatives and all of those in privity with or acting under its
 4
     direction and/or pursuant to its control be required to deliver up for destruction all advertising,
 5

 6   promotional, point of sale, and any other materials bearing the infringing mark.

 7               13.    An award of corrective advertising, which is necessary and appropriate to
 8
     counteract the beliefs created and reinforced by Defendant’s false and misleading advertisements,
 9
     which misbeliefs are likely to linger into the future absent such corrective advertising;
10
                 14.    For general, special, actual, and/or statutory damages in an amount to be determined
11

12   at trial.

13               15.    For treble damages.
14
                 16.    That Plaintiff have such other and further relief as this Court shall deem just and
15
     proper on the merits.
16
                                           DEMAND FOR JURY TRIAL
17

18               Plaintiff demands a trial by jury on all issues alleged in this Complaint.

19

20
     Dated: March 27, 2023                                      Gamma Law, P.C.
21

22                                                              /S/
                                                                Duy Thai, SBN 157345
23
                                                                Benjamin Ashurov, SNB 271716
24                                                              Attorney for Plaintiff
                                                                Find the Origin, Inc.
25
                                                   ATTESTATION
26

27               I attest that all other signatories listed, and on whose behalf the filing is submitted, concur

28   in the filing’s content and have authorized the filing.

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